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                           UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY


DARNEL GRAHAM                       )
                                    )
        Plaintiff,                  )               CIVIL ACTION
                                    )
v.                                  )               Case No.: _____________
                                    )
CAMDEN COUNTY BOARD OF              )               JURY TRIAL DEMANDED
COMMISSIONERS                       )
Serve: Emeshe Arzon                 )
County Attorney                     )
520 Market St.                      )
14th Flr., Courthouse               )
Camden, NJ 08102                    )
                                    )
                                    )
        Defendant.                  )
____________________________________)




                                         COMPLAINT

       Comes now Plaintiff, Darnel Graham (“Off. Graham” or “Graham”), by and through

undersigned counsel, and state as follows:

                                      INTRODUCTION

       Darnel Graham is an employee of the Camden County Office of the Sheriff (“CCSO”),

currently on indefinite suspension and verbally told on May 6, 2025 that he has been terminated

from employment, and was stripped of his uniform and duty belt in front of his colleagues on that

date. In 2023, he, along with two other minority officers, brought suit in this Court to challenge

the discriminatory and retaliatory actions of their employer and their union, the New Jersey State

Policemen’s Benevolent Association (“PBA”) and New Jersey State Policemen’s Benevolent

Association, Local 277 (“Local 277” or the “Union”), and their one-time supervisor, Sergeant
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Michael Olson (“Sgt. Olson”). See Womble, et al. v. Camden County Board of Commissioners, et

al., No. 23-cv-03373 (“Womble” or “Womble Action”). All three litigants to the Womble Action

are minorities in the CCSO which is dominated by white officers, even though the office serves a

very diverse community.

       On July 22, 2024, Graham was verbally told that an Internal Affairs investigation had been

opened up against him concerning his June 13, 2024 deposition testimony in the Womble Action

in which he truthfully testified that Sgt. Olson, a defendant in Womble, had made demeaning

remarks in Graham’s presence about another plaintiff in the Womble Action, Marcus Cuevas

(“Plaintiff Cuevas”). This testimony conflicted with his July 2022 statement before Internal

Affairs concerning an internal investigation into alleged misconduct by Olson, in which Graham

stated that Olson did not say anything disparaging about Cuevas. Graham explained in his June

2024 deposition testimony in Womble that he provided that statement to Internal Affairs in order

to protect Olson, as at that time, Graham viewed Olson as a mentor and friend. Despite the

seemingly innocuous nature of this deposition testimony, and the fact that Graham was testifying

truthfully at this deposition, Defendant’s Camden County’s Office of County Counsel (which is

defending Camden County Board of Commissioners in the Womble Action) referred the matter to

the Camden County’s Prosecutor’s Office, which in turn is prosecuting Graham over his truthful

testimony. All of this conduct is being orchestrated by Defendant in an effort to chill the Womble

plaintiffs, including Graham, and other potential witnesses, from truthfully testifying in the

Womble Action, and to retaliate against Graham for seeking redress in Womble for Defendant’s

Title VII and other statutory and common law violations.

       In this action, Graham asserts claims against Defendant Camden County Board of

Commissioners for a retaliation for exercising his First Amendment Rights pursuant to 42 U.S.C.




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§ 1983, the New Jersey Civil Rights Act N.J Stat. § 10:6-1, the New Jersey Conscientious

Employee Protection Act (“CEPA”) N.J. Stat. § 34:19-2 et seq., New Jersey Law Against

Discrimination, N.J. Stat. § 10:5-12(d), and common law abuse of process and intentional

infliction of emotional distress.

                                             PARTIES

1.     Off. Graham is a biracial African American and Latino male, and a resident of the State of

New Jersey.

2.     Off. Graham has been employed by Defendant since 2013. He is officially suspended

without pay from CCSO, but was told by Sheriff Charles Bellingham that he had been terminated

effective May 6, 2025.

3.     Defendant Camden County Board of Commissioners was Plaintiff’s employer and CCSO

is the department in which Plaintiff worked.



                                    JURISDICTION & VENUE

4.     This Court has original subject matter jurisdiction over the instant action pursuant to 28

U.S.C. §§ 1331 and 1343(a)(4) because it arises under the laws of the United States and seeks redress

for violations of federal laws. There lies supplemental jurisdiction over Plaintiff's state-law and

common law claims pursuant to 28 U.S.C. § 1367, because they arise out of the same common

nucleus of operative facts as Plaintiff's federal claims asserted herein.

5.     Venue is proper in this Court because all acts and omissions in controversy took place in

New Jersey.




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                                   FACTUAL BACKGROUND

6.      Graham first joined the CCSO in June of 2013, working in the Hall of Justice/Superior

Court as Courtroom security, even before starting at the police academy. He left work as a

Courtroom security to train at the academy, graduating in late 2013.

7.      Following graduation, Graham returned to the Hall of Justice/Superior Court and continued

to serve as Courtroom security, under the supervision of Captain Pasquale Curseo (“Cpt. Curseo”).

8.      Cpt. Curseo quickly recognized Graham’s quick learning and leadership capabilities, and

named him a Field Training Officer (“FTO”), responsible for training other officers in Courtroom

Security responsibilities, despite his limited time as an officer.

9.      Gramham suffered multiple instances of discrimination while working in Courtroom

security.

10.     On June 28, 2020 , Plaintiff Graham transferred to CCSO’s Transportation unit, working

the 6:00 a.m. to 6:00 p.m. shift, in the hope that he could work in a discriminatory-free

environment.

11.     Unfortunately, he was to eventually learn that he could not escape the racism endemic to

CCSO by moving to the Transportation unit, which ultimately led to his joining the Womble

lawsuit.

12.     On June 20, 2023, Shannel Womble (“Plaintiff Womble”) and Marcus Cuevas (“Plaintiff

Cuevas”) filed a lawsuit against Defendant Camden County Board of Commissions, and their state

and local union, alleging, among other things, discrimination in the workplace.

13.     Graham decided to join the Womble Action, and on October 13, 2023, an amended

complaint was filed adding him as a plaintiff.




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14.     On June 13, 2024, Graham was deposed in Womble. During his deposition, he was shown

a transcript of his statement during a July 12, 2022 Internal Affairs (IA) investigation into

allegations of misconduct by Sgt. Olson.

15.     Graham had a long-standing relationship with Sgt. Olson and at the time of the July 2022

Internal Affairs investigation, he viewed Olson as not only a mentor, but a friend. He also

understood that in order to avoid retaliation by CCSO leadership, including from Sgt. Olson, he

was required to “cover up and protect Sgt. Olson.”

16.     Consistent with this understanding, Graham stated at a July 12, 2022 Internal Affairs

interview that Sgt. Olson did not say anything disparaging about Marcus Cuevas.

17.     However, consistent with his allegations stated in the Womble Action, Graham testified at

his June 2024 deposition that he, as a person of color, was a “token” and acted as a “shield” to

cover for the racist conduct of Sgt. Olson and others in leadership at CCSO, and made false

statements in the July 12, 2022 IA investigation interview to protect his supervisor, Sgt. Olson.

18.     At his June 13, 2024 deposition, Graham testified that Sgt. Olson did indeed make

demeaning remarks about Cuevas in Graham’s presence.

19.     Following this June 2024 deposition testimony, Defendant opened an investigation against

Graham asserting that Graham may be subject to discipline, up to and including termination,

because he allegedly provided false statements in the earlier internal investigation.

20.     Upon information and belief, Krista Schmid, the attorney from the County’s Office of

County Counsel who deposed Graham, in an effort to chill Graham, Plaintiffs Womble and Cuevas,

and other potential witnesses from truthfully testifying in the Womble Action, informed the

County’s Prosecutor’s Office of Graham’s June 13, 2024 deposition testimony, and following

instruction from the Office of County Counsel, Defendant opened this disciplinary action against




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Plaintiff, threatening termination for truthfully testifying about Sgt. Olson’s conduct and the hostile

work environment at CCSO.

21.     At Graham’s June 13, 2024 deposition, Krista Schmid expressly told Plaintiff that

Defendant would “bleed you dry.”

22.     Unfortunately, Defendant was true to this word, and in early to mid-March 2025, escalated

the charges over this small issue to criminal charges, including a charge of Hindering Apprehension

or Prosecution – 3rd degree, pursuant to N.J.S.A. 2C:29-3(a), and Official Misconduct – 2nd degree,

pursuant to N.J.S.A. 2C:30-2. These charges collectively include penalties of 5 to 10 year’s

imprisonment, forfeiture of public employment and fines.

23.     This escalation was conducted before any interview or hearing had taken place.

24.     On March 18, 2025, Defendant’s Prosecutor’s Office offered a pre-indictment offer letter

requiring Graham to plead guilty to 3rd degree Hindering Apprehension or Prosecution (N.J.S.A.

2C:29-3(a)), which would result in termination of his employment, probation and fines.

25.     The Prosecutor’s Office threatened that should Graham not accept this plea deal, he would

face both the 2nd degree offense and 3rd degree offense with a mandatory 5 year prison sentence

without possibility of parole should he be convicted, pursuant to N.J.S.A. 2C:43-6.5 (which

governs mandatory minimums for public corruption offenses).

26.     Plaintiff refused this plea deal, and in response, on May 6, 2025, Graham was charged not

with these offenses, but with 4th degree Obstructing the Administration of Law or Other

Governmental Function, pursuant to N.J.S.A. 2C:29-1(a).

27.     On that date, Graham was ordered to appear at Camden City Hall. There, he was suspended

from his position as a Sheriff’s Officer with CCSO, and, with Sheriff Charles Bellingham and

Graham’s peers present to maximize the humiliation exacted on Graham, was stripped of his




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uniform and duty belt, told that he was terminated from CCSO, and barred from reentering the

building, requiring a co-worker to retrieve his belongings from his locker.

28.     On May 7, 2025, a separation letter was issued. All of this was performed without Graham

being provided the opportunity of a hearing to defend himself.

29.     On June 11, 2025, Plaintiff received a Final Notice of Disciplinary Action, falsely asserting

that Plaintiff did not request a hearing; Plaintiff’s attorney submitted an appeal and Defendant’s

Prosecutor’s Office acknowledged receipt.

30.     The June 11, 2025 Notice states that Plaintiff is on an indefinite suspension. The

suspension is unpaid, and accordingly, Plaintiff is currently suffering severe financial hardship

from the total loss of income due to Defendant’s unlawful conduct.

31.     Defendant has singled out Plaintiff for this treatment, and has not criminally charged CCSO

officers who likewise make untrue statements to Internal Affairs. The crucial difference is that

these similarly situated officers are not pursuing litigation against Defendant.

32.     For example, Sgt. Olson was the subject of an Internal Affairs investigation charging him

with secretly recording two civilian Records Support Technicians without their knowledge or

consent. Defendant’s IA investigation concluded that he had committed this offense, but worse, it

found that he ignored supervisory calls, abandoned his post, interfered with an internal

investigation, and most relevant here, violated several Internal Affairs policies, including

truthfulness.

33.     Unlike Defendant’s actions against Plaintiff however, Sgt. Olson was not criminally

charged for being untruthful in an IA investigation and subject to the humiliation and likely

termination experienced by Plaintiff. Instead, Sgt. Olson received a 45-day suspension (later

reduced to 30-days) and was permitted to retain his position with CCSO. He continues to be




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employed by Defendant without fear of criminal prosecution for being untruthful to Internal

Affairs.

34.     As a result of Defendant’s unlawful, malicious, retaliatory conduct, Plaintiff has suffered

severe financial, reputational and emotional harm.



                                     CLAIMS FOR RELIEF

                                             COUNT I

                                 (Violation of 42 U.S.C. § § 1983;
                         Retaliation in Violation of the First Amendment)

35.     Plaintiff references and incorporates all of the assertions in the previous paragraphs as if

fully restated herein.

36.     Plaintiff is in a contractual relationship with Defendant Camden County Board of

Commissioners, in which he is entitled to be free from retaliation for engaging in protected activity.

37.     Defendant Camden County Board of Commissioners, acting under color of state law,

deprived Plaintiff of his rights under the First Amendment to the United States Constitution by

retaliating against him for engaging in protected speech.

38.     Defendant Camden County Board of Commissioners, through CCSO and its agents,

opened an investigation against Plaintiff following his truthful deposition testimony in the Womble

Action, and Defendant’s Prosecutor’s Office threatened to charge Plaintiff with various crimes,

and ultimately, on May 6, 2025, charged Plaintiff with 4th degree Obstructing the Administration

of Law or Other Governmental Function, pursuant to N.J.S.A. 2C:29-1(a).

39.     Because of his protected activity, Plaintiff is being subjected to a punitive Internal Affairs

investigation and prosecution from Defendant’s Prosecutor’s Office related to his litigation of the

Womble Action. In providing testimony that supports his claims, Defendant has retaliated against



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him by asserting in the Internal Affairs investigation and criminal prosecution that despite his

testimony that earlier statements made to Internal Affairs were made in an effort to “cover up and

protect Sergeant Olson,” and therefore were not true at the time, Defendant has charged him with

crimes that have resulted in his suspension without pay and, at least verbally, his termination. In

so doing, Defendant violates Plaintiff’s First Amendment rights.

40.     Further, Defendant Camden County Board of Commissioners is liable for the retaliation

committed by CCSO and its agents for opening an Internal Affairs investigation and prosecution

in an effort to retaliate against Plaintiff for filing the Womble Action and for his truthful testimony

concerning the racist conduct of Sgt. Olson, racially hostile work environment, and racially

disparate treatment the Womble Plaintiffs endure at CCSO, which is consistent with the allegations

made by him and the other Plaintiffs in that complaint.

41.     Plaintiff’s speech was protected under the First Amendment as it involved a matter of

public concern, and Plaintiff was speaking in his capacity as a litigant in the Womble Action and

therefore as a private citizen.

42.     Defendant's retaliatory actions would deter a person of ordinary firmness from engaging in

protected speech.

43.     Defendant’s actions were intentional, malicious, and taken in bad faith for the purpose of

retaliating against Plaintiff, and Defendant is attempting to use its retaliation against Plaintiff to

interfere in the prosecution of the Womble Action by chilling Graham, Plaintiff Womble, Plaintiff

Cuevas, and other potential witnesses from truthfully testifying and providing other evidence in

support of their claims in the Womble Action.




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44.      As a direct and proximate cause of the consistent and ongoing retaliation to which Plaintiff

is being subjected, he has suffered severe financial and reputational harm, mental and emotional

anguish, as well as insomnia, anxiety, and depression.

45.      Plaintiff seeks damages pursuant to Section 1983 for the retaliation to which he was

subjected of not less than $1,000,000.00, as well as costs, fees, interest, and attorney’s fees.

                                              COUNT II

          (Violation of New Jersey Civil Rights Act (NJCRA), N.J. Stat. 10:6-1, et seq.)

46.      Plaintiff references and incorporates all of the assertions in the previous paragraphs as if

fully restated herein.

47.      The New Jersey Civil Rights Act provides that any person whose rights under the

Constitution or laws of this State are interfered with by another acting under color of law may

bring a civil action for damages and other relief.

48.      Plaintiff is in a contractual relationship with Defendant Camden County Board of

Commissioners, in which he is entitled to be free from retaliation for engaging in protected activity.

49.      Plaintiff’s truthful deposition testimony constituted speech protected by the New Jersey

Constitution, Article I, Paragraph 6, and the First Amendment to the United States Constitution.

50.      Defendant Camden County Board of Commissioners, through CCSO and its agents,

opened an investigation against Plaintiff following his truthful deposition testimony in the Womble

Action, and Defendant’s Prosecutor’s Office threatened to charge Plaintiff with various crimes,

and ultimately, on May 6, 2025, charged Plaintiff with 4th degree Obstructing the Administration

of Law or Other Governmental Function, pursuant to N.J.S.A. 2C:29-1(a).

51.      Because of his protected activity, Plaintiff is being subjected to a punitive Internal Affairs

investigation and prosecution from Defendant’s Prosecutor’s Office related to his litigation of the




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Womble Action. In providing testimony that supports his claims, Defendant has retaliated against

him by asserting in the Internal Affairs investigation and criminal prosecution that despite his

testimony that earlier statements made to Internal Affairs were made in an effort to “cover up and

protect Sergeant Olson,” and therefore were not true at the time, Defendant has charged him with

crimes that have resulted in his suspension without pay and, at least verbally, his termination. In

doing so, Defendant violates free speech rights under the New Jersey Constitution and U.S.

Constitution.

52.      Further, Defendant Camden County Board of Commissioners is liable for the retaliation

committed by CCSO and its agents for opening an Internal Affairs investigation and prosecution

in an effort to retaliate against Plaintiff for filing the Womble Action and for his truthful testimony

concerning the racist conduct of Sgt. Olson, racially hostile work environment, and racially

disparate treatment the Womble Plaintiffs endure at CCSO, which is consistent with the allegations

made by him and the other Plaintiffs in that complaint.

53.      Plaintiff’s speech was protected under the New Jersey Constitution and U.S. Constitution

as it involved a matter of public concern, and Plaintiff was speaking in his capacity as a litigant in

the Womble Action and therefore as a private citizen.

54.      Defendant's retaliatory actions would deter a person of ordinary firmness from engaging in

protected speech.

55.      Defendant’s actions were intentional, malicious, and taken in bad faith for the purpose of

retaliating against Plaintiff, and Defendant is attempting to use its retaliation against Plaintiff to

interfere in the prosecution of the Womble Action by chilling Graham, Plaintiff Womble, Plaintiff

Cuevas, and other potential witnesses from truthfully testifying and providing other evidence in

support of their claims in the Womble Action.




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56.      As a direct and proximate cause of the consistent and ongoing retaliation to which Plaintiff

is being subjected, he has suffered and continues to suffer severe financial and reputational harm,

mental and emotional anguish, as well as insomnia, anxiety, and depression.

57.      Plaintiff seeks damages pursuant to the NJCRA for the retaliation to which he was

subjected of not less than $1,000,000.00, as well as costs, fees, interest, and attorney’s fees.

                                             COUNT III

                                    (Violation of New Jersey
                         Conscientious Employee Protection Act (CEPA),
                                      N.J. Stat. § 34:19-1)

58.      Plaintiff references and incorporates all of the assertions in the previous paragraphs as if

fully restated herein.

59.      CEPA recognizes a claim for retaliation for whistle-blowing activity through the filing of

complaints and testifying under oath about an employer’s conduct that violates either a law, rule

or regulation promulgated pursuant to law, or a clear mandate of public policy. As Plaintiff

continues to litigate the Womble Action, Defendant Camden County Board of Commissioners

continues to retaliate against him. Following his June 2024 deposition testimony in that Action,

Defendant opened an investigation and prosecution against Plaintiff asserting that Plaintiff is

subject to discipline, up to and including termination, a prison sentence, probation and fines,

because he allegedly provided false statements in an earlier internal investigation of alleged

misconduct by Sgt. Olson.

60.      Upon information and belief, this punitive IA investigation and prosecution by Defendant’s

Prosecutor’s Office was commenced because, consistent with his allegations stated in the Womble

Action, Plaintiff testified at his June 13, 2024 deposition that he, as a person of color, was a “token”

and acted as a “shield” to cover for the racist conduct of Sgt. Olson and others in leadership at




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CCSO, and made false statements in a July 12, 2022 IA investigation to protect his supervisor, Sgt.

Olson.

61.      Specifically, and contrary to his statement made to an investigator in July of 2022, in his

June 2024 deposition testimony in the Womble Action, Plaintiff Graham testified that, when shown

his earlier statements in a July 2022 IA investigation, his statements to the IA investigator were

untruthful in an effort to “cover up and protect Sergeant Olson,” and consistent with the allegations

in that Action, Plaintiff Graham testified that Defendant Olson indeed did make demeaning

remarks about Plaintiff Cuevas. In filing this lawsuit and truthfully testifying at his deposition,

Plaintiff Graham has engaged in protected activity and whistle-blowing pursuant to N.J. Stat. §

34:19-3, by exposing Sgt. Olson and CCSO’s discriminatory conduct as alleged in the Womble

complaint. Defendant’s current disciplinary and prosecutory actions against him for doing so is

connected to this protected activity.

62.      Defendant further violates CEPA because its punitive disciplinary and prosecutory actions

are an effort to chill Graham, Plaintiffs Womble and Cuevas, and other potential witnesses from

truthfully testifying and presenting other evidence about Sgt. Olson’s discriminatory conduct and

the hostile work environment at CCSO in the Womble Action.

63.      As a direct and proximate cause of Defendant’s unlawful retaliation against Plaintiff for

having engaged in protected activity, Plaintiff has suffered severe financial and reputational harm,

mental and emotional anguish, as well as insomnia, anxiety, and depression.

64.      Plaintiff seeks compensatory damages for this CEPA claim of not less than $1,000,000.00,

plus costs, fees, interest, and attorney’s fees.




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                                             COUNT IV

                                         (Abuse of Process)

65.      Plaintiff references and incorporates all of the assertions in the previous paragraphs as if

fully restated herein.

66.      As Plaintiff continues to litigate the Womble Action, Defendant Camden County Board of

Commissioners continues to retaliate against him. Following his June 2024 deposition testimony

in that Action, Defendant opened an investigation and prosecution against Plaintiff asserting that

Plaintiff is subject to discipline, up to and including termination, a prison sentence, probation and

fines, because he allegedly provided false statements in an earlier internal investigation of alleged

misconduct by Sgt. Olson.

67.      Upon information and belief, this punitive IA investigation and prosecution by Defendant’s

Prosecutor’s Office was commenced because, consistent with his allegations stated in the Womble

Action, Plaintiff testified at his June 13, 2024 deposition that he, as a person of color, was a “token”

and acted as a “shield” to cover for the racist conduct of Sgt. Olson and others in leadership at

CCSO, and made false statements in a July 12, 2022 IA investigation to protect his supervisor, Sgt.

Olson.

68.      Specifically, and contrary to his statement made to an investigator in July of 2022, in his

June 2024 deposition testimony in the Womble Action, Plaintiff Graham testified that, when shown

his earlier statements in a July 2022 IA investigation, his statements to the IA investigator were

untruthful in an effort to “cover up and protect Sergeant Olson,” and consistent with the allegations

in that Action, Plaintiff Graham testified that Defendant Olson indeed did make demeaning

remarks about Plaintiff Cuevas. In filing this lawsuit and truthfully testifying at his deposition,

Plaintiff Graham has engaged in protected activity and whistle-blowing pursuant to N.J. Stat. §




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34:19-3, by exposing Sgt. Olson and CCSO’s discriminatory conduct as alleged in the Womble

complaint. Defendant’s current disciplinary and prosecutory actions against him for doing so is

connected to this protected activity.

69.      The initiation of the IA disciplinary action and criminal charges are not for any legitimate

law enforcement purpose or to prosecute a bona fide crime, but instead were undertaken with an

ulterior motive – to retaliate against Plaintiff for his truthful testimony, to intimidate and punish

him for exercising his legal obligations and rights, and to chill Graham, Plaintiffs Womble and

Cuevas, and other potential witnesses from truthfully testifying and presenting other evidence

about Sgt. Olson’s discriminatory conduct and the hostile work environment at CCSO in the

Womble Action.

70.      The disciplinary and criminal process was therefore used by Defendant for a purpose for

which it was not designed: to punish, harass and retaliate against Plaintiff, rather than to seek

justice or enforce the law.

71.      Defendant’s conduct constitutes an abuse of process under New Jersey law.

72.      As a direct and proximate cause of Defendant’s abuse of legal process, Plaintiff has suffered

severe financial and reputational harm, mental and emotional anguish, as well as insomnia, anxiety,

and depression.

73.      Plaintiff seeks compensatory damages for this claim of not less than $1,000,000.00, plus

costs, fees, interest, and attorney’s fees.

                                              COUNT V

                           (Intentional Infliction of Emotional Distress)

74.      Plaintiff references and incorporates all of the assertions in the previous paragraphs as if

fully restated herein.




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75.      Defendant’s actions in initiating baseless disciplinary and criminal charges against

Plaintiff, motivated by retaliation for his truthful deposition testimony, constitute extreme and

outrageous conduct beyond the bounds of human decency.

76.      Defendant intended to cause Plaintiff severe emotional distress, or acted in reckless

disregard of the high probability that its conduct would cause such distress.

77.      As a direct and proximate cause of Defendant’s conduct, Plaintiff has suffered severe

financial and reputational harm, mental and emotional anguish, as well as insomnia, anxiety, and

depression.

78.      Plaintiff seeks damages for this claim of not less than $1,000,000.00, as well as costs, fees,

interest, and attorney’s fees.

                                             COUNT VI

          (Violation of New Jersey Law Against Discrimination, N.J. Stat. § 10:5-12(d))

79.      Plaintiff references and incorporates all of the assertions in the previous paragraphs as if

fully restated herein.

80.      The New Jersey Law Against Discrimination prohibits any person or entity from taking

reprisals against any individual because that person has opposed practices forbidden by the NJLAD

or because the person has filed a complaint, testified, or assisted in any proceeding under the Act.

81.      Plaintiff engaged in protected activity under the NJLAD by opposing unlawful

discriminatory practices and testifying about discriminatory conduct.

82.      In direct retaliation for Plaintiff’s exercise of rights protected under the NJLAD, Defendant

initiated baseless discipline and criminal charges against Plaintiff, seeking to punish, intimidate

and harass him.

83.      The retaliatory actions taken by Defendant were in violation of N.J.S.A. § 10:5-12(d).




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84.      As a direct and proximate cause of Defendant’s conduct, Plaintiff has suffered severe

financial and reputational harm, mental and emotional anguish, as well as insomnia, anxiety, and

depression.

85.      Plaintiff seeks damages for this claim of not less than $1,000,000.00, as well as costs, fees,

interest, and attorney’s fees.



                                      PRAYER FOR RELIEF

 WHEREFORE, Plaintiff prays that this Court enter an Order providing that:

         A. All disciplinary and criminal charges against Plaintiff as outlined in this Complaint be

            dismissed;

         B. Defendant is to compensate Plaintiff, reimburse Plaintiff, and make Plaintiff whole for

            any and all pay and benefits Plaintiff would have received had it not been for

            Defendant's illegal actions, including but not limited to back pay, front pay, salary, pay

            increases, bonuses, insurance, benefits, training, promotions, reinstatement, and

            seniority;

         C. Defendant is to compensate Plaintiff, reimburse Plaintiff, and make Plaintiff whole for

            all fees and expenses, including attorney’s fees and expenses, associated with defending

            himself against the disciplinary action and criminal charges outline herein;

         D. Plaintiff is to be awarded punitive damages and/or liquidated damages, as permitted by

            applicable law, in an amount believed by the Court or trier of fact to be appropriate to

            punish Defendant for its willful, deliberate, malicious and outrageous conduct and to

            deter Defendant or other employers from engaging in such misconduct in the future;

         E. Plaintiff is to be accorded other equitable and legal relief as the Court deems just,




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      proper, and appropriate (including but not limited to damages for emotional distress /

      pain and suffering);

   F. Plaintiff is to be awarded the costs and expenses of this action and reasonable

      attorney’s fees as provided by applicable federal and New Jersey state law.

   G. Plaintiff is to be given a jury trial as demanded in the caption of the instant

      Complaint.



                                JURY TRIAL DEMAND

   Plaintiff demands trial by jury on all claims so triable.



                                          Respectfully submitted,

                                          /s/ Benjamin Folkman
                                          Benjamin Folkman, Esq.
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